Case 23-11161-JKS Doc 382-1 Filed 11/03/23 Page 1 of 2

Exhibit 1
Case 23-11161-JKS Doc 382-1 Filed 11/03/23 Page 2 of 2

mwe.com

Joseph B. Evans
Partner
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August 18, 2023
VIA EMAIL AND FEDERAL EXPRESS

Alec Gorge
4776 Westmont Ave.
Campbell, CA 95008

Re: Inre Prime Core Technologies Inc., et al., No. 23-11161 (JKS) (Bankr. D. Del.)
Dear Alec Gorge:

We represent Prime Core Technologies Inc., and its affiliated debtors (collectively, the “Debtors”), in
connection with the above-captioned Chapter 11 Bankruptcy cases (the “Bankruptcy Cases”) pending in
the United States Bankruptcy Court for the District of Delaware.

We have attached the Debtors’ requests for information, which have been styled as a subpoena pursuant
to Rule 2004 of the Federal Rules of Bankruptcy Procedure. Under the Local Rules for the United States
Bankruptcy Court for the District of Delaware, “a motion under Fed. R. Bankr. P. 2004 is not required if
the proposed examinee agrees to voluntarily appear or produce documents.” See Del. Bankr. L.R. 2004-
i(c); see also Del. Bankr. L.R. 2004-1(c) (“consensual discovery can be conducted by agreement and not
under the provisions of Fed. R. Bankr. P. 2004 or this Local Rule, as applicable.”) We are seeking your
voluntary cooperation. If you fail to cooperate, we will immediately seek court intervention.

Please confirm via email or other writing no later than August 25, 2023, that you will provide the
requested information by August 31, 2023, and appear for a deposition to be scheduled at a mutually
agreeable time and place. If you refuse to comply or do not timely respond, the Debtors will promptly
seek court intervention. We are available to discuss a mutually agreeable date, time, place and scope of
production and examination via a phone call or Zoom conference. See Del. Bankr. L.R. 2004-1 (a).

Sincerely,

A

Joseph B. Evans

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Wil | & Eme ry US practice conducted through McDermott WH & Emery LLP.
